
Filed 7/26/12 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2012 ND 161







In the Matter of the Application for Disciplinary Action Against

Rebecca Lee Lawler, a Member of the Bar of the State of North Dakota



Disciplinary Board of the Supreme 

Court of the State of North Dakota, 		Petitioner

v.

Rebecca Lee Lawler, 		Respondent







No. 20120297







Application for Interim Suspension.

INTERIM SUSPENSION ORDERED.

Per Curiam.

[¶1]	On July 23, 2012, an Application for Order of Interim Suspension of Rebecca Lee Lawler, a member of the Bar of North Dakota, with supporting documents and affidavits, was filed under N.D.R. Lawyer Discipl. 3.4, Threat of Public Harm. &nbsp;On July 24, 2012, and July 26, 2012, supplemental information in support of the application for interim suspension was filed. &nbsp;Lawler was admitted to practice law on September 25, 2006, and is currently licensed to practice law in North Dakota.

[¶2]	The Application alleged that Disciplinary Counsel received a complaint against Lawler in an affidavit from an attorney. &nbsp;Disciplinary Counsel asserted the complaint raises issues of violations of N.D.R.Prof. Conduct 1.3, Diligence; N.D.R.Prof. Conduct 1.4, Communication; and N.D.R.Prof. Conduct 1.15, Safekeeping Property and Professional Liability Insurance Disclosure.

[¶3]	The Application alleged that Disciplinary Counsel received an affidavit from a second attorney. &nbsp;Disciplinary Counsel asserted the affidavit raises issues regarding violation of N.D.R.Prof. Conduct 1.3, Diligence and N.D.R.Prof. Conduct 1.4, Communication, and provides additional information regarding problems which Lawler may be experiencing. &nbsp;

[¶4]	The Application and supplemental information alleged that 34 overdrafts were made to Lawler’s trust account between January 25, 2012 and June 13, 2012. &nbsp;Overdraft notices were sent to Lawler. &nbsp;

[¶5]	Disciplinary Counsel asserts that the information provided is sufficient evidence to require the protection of the public by suspension of Lawler from the practice of law in North Dakota. 

[¶6]	Under N.D.R. Lawyer Discipl. 3.4(B), Threat of Public Harm, the court may enter an interim order, at any stage of any proceeding, immediately suspending the lawyer pending final disposition of the proceeding predicated upon the conduct causing the harm or may order such other action as deemed appropriate. &nbsp;This rule also provides that upon request by counsel or the lawyer after entry of an interim suspension order, the court shall within ten days provide an opportunity for the lawyer to demonstrate that the order should not remain in force. &nbsp;The Court considered the matter, and based on the pattern of overdrafts of Lawler’s trust account between January 25, 2012, and June 13, 2012, and

[¶7]	
ORDERED
, Rebecca Lee Lawler’s license to practice law is SUSPENDED effective immediately, and until further order of this Court, pending final disposition of the disciplinary proceedings predicated upon the complaint filed.

[¶8]	
FURTHER ORDERED
, Rebecca Lee Lawler comply with N.D.R. Lawyer Discipl. 6.3, Notice of Status.

[¶9]	
FURTHER ORDERED
, Rebecca Lee Lawler participate in the Lawyer Assistance Program. 

[¶10]	
FURTHER ORDERED
, that Disciplinary Counsel consider N.D.R. Lawyer Discipl. 6.4.

[¶11]	Gerald W. VandeWalle, C.J.

Dale V. Sandstrom

Carol Ronning Kapsner

Mary Muehlen Maring

